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UNITED STATES DISTRICT COURT DATEFILED: 9-) 7 -)£

SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

MICHAEL DARDASHTIAN, individually and on
behalf of COOPER SQUARE VENTURES, LLC
NDAP, LLC and CHANNEL REPLY

-against-

DAVID GITMAN, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKKII
GLUKHAREV and CHANNEL REPLY, INC.

Case No. 17 CV 4327 (LLS)(RWL)

Plaintiffs,

ROROSER AMENDED
SCHEDULING ORDER

 

Defendants.

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WHEREAS, the Court directed at the July 19, 2018 settlement conference for the

parties to confer as to an amended discovery schedule;

WHEREAS, on September 10, 2018, the parties submitted to the Court a joint letter

setting forth a proposed amended discovery schedule;

WHEREAS, on September 11, 2018, the Court Ordered the parties to submit a

proposed revised scheduling order for entry consistent with the proposed schedule set forth in

the parties’ September 10, 2018 filing;

NOW, THEREFORE, the parties submit the following:

1.

2.

Paper discovery and ESI production shall be completed by October 30, 2018;
Fact witness depositions shall be completed by December 30, 2018;

Expert reports shall be exchanged by February 15, 2019;

Expert depositions shall be completed by March 15, 2019;

The Parties shall file dispositive motions by April 30, 2019; and
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6. The joint pretrial order shall be submitted within 30 days after a decision on
dispositive motions, os, Lap dispositive motions cee mode \
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Dated: Ir
AIF 1S Robert W. Lehrburger, U.S.M_.J.

 

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